Case 1:07-cr-10030-DDD-JDK Document12 Filed 11/14/07 Page 1 of 9 PagelID#: 7

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/ « Bangor, Maine 94402
er (207) 945-0575
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° November 9, 2007
RE: USA v. RICHARD LEE McNAIR

D/ME MAG. NO. 07-55-C
WD/LA NO. 06mgl049

Dear Sir/Madam:

The above-named defendant having appeared before Magistrate Judge
David M. Cohen for a (removal) hearing on November $, 2097, pursuant
to his arrest here in the District of Maine, enclosed please find
copies of the following:

Certified copy of docket

Certified copy of Commitment to Another District
Certified copy of Waiver of Rule 5 & 5.1 Hearings
Copy of Gvt Motion for Detention

Copy of Synopsis

Fax Copy of Warrant for Arrest of dft

Fax Copy of Criminal Complaint

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Please be advised that 1 expect this defendant to be transported in
due course to your District pursuant to the Commitment Order dated
November 9, 2007. i further understand that he should be presented
to a judicial officer in your district for further proceedings
(preliminary examination and detention hearing) .

Orn { HELLY

Susan il. Hall
Deputy Clerk

Enc.

ce: Jonathan R. Chapman, AUSA
David R. Beneman, Federal Defender
U.S. Marshal Service
U.S. Probation Office
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U. §. DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA (] — { / /] 4 ih -O
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DEC U4 2067 CLOSED
Cc

ROBERT ELL, CLERK . .
BY a . U.S. District Court
District of Maine (Portland)

CRIMINAL DOCKET FOR CASE #: 2:07-mj-00055-DMC-1

Case title: USA v. MCNAIR Date Filed: 11/08/2007
Other court case number: 06mg1049 USDC, WD/LA Date Terminated: 11/09/2007

Assigned to: MAGISTRATE JUDGE
DAVID M. COHEN

Defendant (1)

RICHARD LEE MCNAIR represented by DAVID R. BENEMAN
TERMINATED: 11/09/2007 FEDERAL DEFENDER'’S OFFICE
ONE CITY CENTER
2ND FLOOR
P.O. BOX 595

PORTLAND, ME 04112-0595
207-553-7070 ext. 101

Email: David. Beneman@fd.org
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Public Defender or
Community Defender Appointment

Pending Counts Disposition

None

Highest Offense Level (Opening)

None

Terminated Counts Disposition

 

None

Highest Offense Level (Terminated)

None
Complaints Disposition
None

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Distristof Maine Loogoeppybk.! pBegktReport Filed 11/14/07 Page 3 of 9 PagelBage 3 of 3

Plaintiff
USA

represented by JONATHAN R. CHAPMAN
U.S. ATTORNEY'S OFFICE
DISTRICT OF MAINE
100 MIDDLE STREET PLAZA
PORTLAND, ME 04101
(207) 780-3257
Email: jon.chapman@usdoj.gov
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

 

Date Filed

Docket Text

 

11/08/2007

Rule 5(c)(3} Documents Received as to RICHARD LEE MCNAIR:
WD/LA Warrant with (Attachments: # 1 WD/LA Criminal Complaint# 2
WD/LA Fax Cover Sheet)(slh, }) (Entered: 11/09/2007)

 

11/08/2007

SYNOPSIS as to RICHARD LEE MCNAIR (shh, ) (Entered:
11/09/2007)

 

11/08/2007

MOTION for Detention by USA as to RICHARD LEE MCNAIR. (slh, )
(Entered: 11/09/2007)

 

11/08/2007

Arrest (Rule 5) of RICHARD LEE MCNAIR per US Marshal (slh, }
(Entered: 11/09/2007)

 

11/09/2007

Minute Entry for proceedings held before Mag Judge DAVID M.
COHEN :Rule 5 Hearing held: Defendant advised of rights and waived
identity, Attorney Appointment Hearing held as to RICHARD LEE
MCNAIR, Added attorney DAVID R. BENEMAN for RICHARD LEE
MCNAIR. Dft committed to custody of US Marshal for transport and
further proceedings in the WD/LA. (Court Reporter FTR) (shh, )
(Entered: 11/09/2007)

 

11/09/2007

WAIVER of Rule 5 Hearings by RICHARD LEE MCNAIR (slh, }
(Entered: 11/09/2007)

 

11/09/2007

COMMITMENT TO ANOTHER DISTRICT as to RICHARD LEE
MCNAIR. Defendant committed to Western District of LOUISIANA By
Mag.Judge DAVID M. COHEN. (slh, ) (Entered: 11/09/2007)

 

11/09/2007

Rule 5 Transfer Out as to RICHARD LEE MCNAIR to WD/LA (slh, )
(Entered: 11/09/2007)

 

11/19/2007

 

 

IN

 

Rule 5 Transfer LETTER marked received 11/14/07 by WD/LA as to
RICHARD LEE MCNAIR (slh, } (Entered: 11/19/2007)

 

 

 

 

 

 

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Case 1:07-cr-10030-DDD-JDK Document12 Filed 11/14/07 Page 5of9 PageID#: 11

SYNOPSIS
Name: Richard Lee McNair
Address: United States Penitentiary, Pollock, Louisiana
Year of Birth: 1958 Age: 47
Violations: Escape, 18 USC §751(a)

Penalty: Imprisonment for not more than five years; a fine of not more than
$250,000, or both

Supervised Release: Not more than three years

Maximum Term of Imprisonment for Violation of Supervised Release: Not more
than two years

Maximum Term of Supervised Release
for Violation of Supervised Release: Not more than three years

Defendant's Attorney: David Beneman, Federal Defender
Detention Status: In execution of a sentence of imprisonment
Foreign National: No

Consular Notification Provided: N/A

County:

AUSA: Jonathan R. Chapman

Primary Investigative Agency: USMS

Guidelines: Apply

Victim Case: No

Organizational Victims Owed Restitution: None

Felony Assessments: $100

Caption of Any Related Search Warrants: None
Case 1:07-cr-10030-DDD-JDK Document12 Filed 11/14/07 Page 6 of 9 PageID #: 12

UNITED STATES DISTRICT COURT
DISTRICT OF MAINE

UNITED STATES OF AMERICA

v. Magistrate No. 07-55-C

See ee ee ee”

RICHARD LEE MCNAIR

MOTION FOR DETENTION

The United States moves for pretrial detention of the defendant, pursuant to 18 U.S.C.
§ 3142.

1. Eligibility of Case. This case is eligible for a detention order because the case
involves {check all that apply):

___ Conditions requiring a temporary detention order (18 U.S.C. § 3142(d))

__ Crime of violence

___ Maximum sentence life imprisonment or death

__ 10+ year drug offense

___ Felony, with two prior convictions in above categories

_x_ Serious risk defendant will flee

_x_ Serious risk obstruction of justice

2. Reasons for Detention.

(i)_ Temporary Detention.

 

(13) Other than Temporary Detention. The court should detain the defendant

because there are no conditions of release which will reasonably assure:
Case 1:07-cr-10030-DDD-JDK Document12 Filed 11/14/07 Page 7 of 9 PageID#: 13

x Defendant's appearance as required

x Safety of any other person and the community

“

3. Date of Detention Hearing. The United States requests that the detention hearing be
held at the initial appearance.

4. Length of Detention Hearing. The United States will require 1/2 hour to present
its case for detention,

5. Other Matters. The defendant is currently in execution of a life sentence. On that

basis, the Court may conclude that the issues raised by this motion are not ripe for decision.

Date: 11/8/07 Paula D. Silsby
United States Attorney

‘sf Jonathan R. Chapman
Jonathan R. Chapman

Assistant United States Attorney
United States Attorney's Office
100 Middle Street

Portland, Maine 04101

(207) 780-3257

jon.chapman@usdoj.gov
Case 1:07-cr-10030-DDD-JDK Document12 Filed 11/14/07 Page 8 of 9 PageID#: 14

SCANNES)

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UNITED STATES DISTRICT COURT er
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AQ 466A (Rev. 1003) Waiver of Rule 5 & 5.1 Hearings

DISTRICT OF MAINE

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UNITED STATES OF AMERICA
WAIVER OF RULE 5 & 5.1 HEARINGS

 

 

 

(Complaint/Indictment)
. CASE NUMBER: 07?m55c
RICHARD LEE McNAIR
Defendant cee gee 06mg 1049
l understand that charges are pending in the Western District of Louisiana
alleging violation of Title 18, U.S.C., Section 751 and that I have been arrested in this district and

 

{Title and Section)

taken before a judge, who has informed me of the charge(s} and my rights to:

{l) retain counsel or request the assignment of counsel if] am unable to retain counsel;

(2) ao identity hearing to determine whether ] am the person named in the charges;

(1) a preliminary bearing (upless an indictment has been returned or information filed} to determine whether there is probable
cause to believe an offense has been committed by me, the hearing to be held in this district or the district of prosecution;
and

{4 Request transfer of the proceedings to this district under Rule 20, Fed. R. Crim. P., in order to plead guilty.

] HEREBY WAIVE (GIVE UP) MY RIGHT TO AQ):
( CT] ) identity hearing

{ []) preliminary hearing

( Rall } identity hearing but request a preliminary hearing be held in the prosecuting district and, therefore, consent to the issuance of
an order requiring my appearance in the prosecuting district where the charges are pending agatnst me.
ae

/ Def;

\\ fale? YD ———

 

Bate Defense Counsel
Case 1:07-cr-10030-DDD-JDK Document12 Filed 11/14/07 Page 9 of9 PageID#: 15
| Bob \ 3

 

AO94 [Rev 1203) Commitment to Another Disinet

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UNITED STATES DISTRICT COURT 8. | do, usp

 

 

 

 

District of Maine ; aX arr in

wy ee

UNITED STATES OF AMERICA COMMITMENT FO'ANOTHER
Vv. DISTRICT
RICHARD LEE McNAIR
DOCKET NUMBER MAGISTRATE JUDGE CASE NUMBER

Distnet of Arrest District of Offense District of Arrest District of Offense

Ofm55c¢ 06me1049

 

 

 

 

CHARGES AGAINST THE DEFENDANT ARE BASED UPON AN
[_] Indictment [J Information BJ Complaint [] Other (specify)

Charging a violation of 18 U.S.C. § 751

 

DISTRICT OF OFFENSE Wester District of Louisiana

 

DESCRIPTION OF CHARGES:

escape from custody of the Attomey General or his authorized representative, or from any institution or facility in which he is
confined by direction of the Attomey General, that facility being the United States Penitentiary in Pollock, Louisiana, a maximum
security U.S, Bureau of Prisons facility.

 

CURRENT BOND STATUS:

L] Bail fixed at and conditions were not met

[} Government moved for detention and defendant detained after hearing in District of Arrest

{_] Government moved for detention and defendant detained pending detention hearing in District of Offense
L] Other (specify)

 

Representation: [_] Retained Own Counsel &] Federal Defender Organization LICJA Attomey [_] None

 

Interpreter Required? X] No [_] Yes Language:

 

DISTRICT OF MAINE
TO: THE UNITED STATES MARSHAL
You are hereby commanded to take custody of the above named defendant and to transport that
defendant with a certified copy of this commitment forthwith to the district of offense as specified
above and there deliver the defendant to the United States Marshal for that District or to some other

officer authorized to receive the defendant.
af’ 707 A nb Ja [tho~

Date Magistrate Judge David M. Cohen

 

RETURN

 

This commitment was received and executed as follows:

 

DATE COMMITTMENT ORDER RECEIVED PLACE OF COMMITMENT DATE DEFENDANT COMMITTED

 

 

 

DATE UNITED STATES MARSHAL (BY) DEPLITY MARSHAL

 

 

 

 

 
